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From:              LAMD Webequ

Subject:           Fw: Conditional Transfer Order (CTO 152) MDL 2804
Date:              Monday, May 18, 2020 4:25:15 PM
Attachments:       2804 Certified CTO 152.pdf




From: Robert Pitts <Robert_T_Pitts@ohnd.uscourts.gov>
Sent: Monday, May 18, 2020 12:46 PM
To: LAMDml_InterdistrictTransfer <InterdistrictTransfer_LAMD@lamd.uscourts.gov>
Subject: Conditional Transfer Order (CTO 152) MDL 2804

Greetings

Attached is a certified copy of the Transfer Order from the Judicial Panel on Multidistrict Litigation
directing the transfer of actions listed to the Northern District of Ohio.

When the case has been closed in your district please:

1. Initiate the civil case transfer functionality in CM/ECF.
2. Choose court Ohio Northern.

After completion of this process the NEF screen will display the following message:

 Sending email to InterdistrictTransfer OHND@ohnd.uscourts.gov

 If this is not displayed, we have not received notice.

 We will initiate the procedure to retrieve the transferred case upon receipt of the email.




Robert Pitts
U.S. District Court
216-357-7084
